                                                                FILED IN opEN couRr
                                                                DATE          .%
                                                                BY            --'--'
                                                                    ,
                                                                             nupuw cuaax
                                                        HAaRjsoNazqoaolyjsjiN
                        UN ITED STA TES D ISTW C T CO UR T                   jw ,
                                                                                o,ofvg
                        W ESTER N D ISTRICT O F W R G ING
                                H AR RTSOM U RG


 U M TED STA TES O F AM ERICA                 2
                                              :
             V.                               : casexo.N tsq G o l o tr
 CASEY H AR VEY


                                  PLEA A GR EEM EN T

       I have agreed to enter into a plea agreem entw ith the United States of Am erica,
 pursuantto Rule 11oftheFederalRules ofCrim inalProcedure.Theterm sand conditions
 ofthisagreem entare asfollow s:

 A . CH AR G EIS) TO W H ICH I AM PLEAD ING G UILTY A ND W A IVER O F
    R IG H TS

    1. TheChareesandPotentialPunishmekt
       M yattorneyhasinformedmeofthenamreofthechargets)anbtheelementsofthe
 chargets)thatmustbe proved by the United Statesbeyond a reasonable doubtbefore I
 could be found guilty ascharged.

       lagreeto plead guilty to an Inform ation,which isa charge broughtby theUnited
 StatesA ttorney as opposed to one returned by a Grand Jury. l am waiving and giving up
 m y rightto be charged by Indictm entand have a Grand Jury vote on m y probable guilt.

       Iw illentera plea ofguilty to Counts 1and 2 ofthe lnfonnation.

       Count 1 charges m e w ith conspiring to distribute 500 gram s or m ore of
 methamphetamine,aSchedule11controlled substance,inviolation of21U .S.C.jj 846&
 841(b)(1)(A).. The maximum statutory penalty is a fine of $10,000,000 and/or
 im prisonm ent for a tenn of life,plus a term of supervised release of at least tive years.
 There isa m andatory m inim um sentence ofimprisonm entfo'  ra term often years.



                               De
                                fendant'
                                       sInitials:(
                                       Page 1 of 14

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         L
       Count2 chargesm ew ith possessing w ith intentto distribute 500 m am sorm ore of
 methamphetamine, a Schedule 11 controlled substance, in violation of 21 U .S.C. j
 841(b)(1)(A). The maximum statutory penalty is a fine of $10,000,000 and/or
 imprisonm ent for a term of life,plus a term of supervised release ofasleasttive years.
 There is am andatory m inim um sentence ofim prisonm entforaterm often years.

       lunderstandrestimtionmaybeordered,myassetsmaybesubjecttoforfeimre,and
 feesm ay be im posed to pay forincarceration,supervised release,and cpstsofprosecution.
 In addition,a$100specialassessment,pursuantto 18U.S.C.j3013,willbeimposedper
 felony copntofconviction. If'urtherunderstand m y supervised releasem ay be revoked if
 Iviolate itsterm s and conditions. Iunderstand a violation ofsupervised release increases
 the possible period ofincarceration.

        Iam pleading guilty as described above because I am in factguilty and because 1
 believe itisin m y bestinterestto do so and notbecause ofany threatsorprom ises.'There
 has been no prom ise m ade whatsoeverby anyone as to whatthe finaldisposition ofthis
 m atterw illbe.

    2. W aiver ofConstitutionalR iehtsU pon a Plea ofG uiltv

       1acknowledgeIhavehada11ofmyrightsexplainedtomeand1exjresslyrecognize
 Ihave the follow ing constim tionalrights and,by voluntarily pleading gullty,Iknow ingly
 w aive and giveup these valuable constitm ionalrights:

       a. The rightto plead notguilty and persistin thatplea;
       b.Therighttoaspeedy andpublicjurytrial;
       c. The rightto assistance ofcounselatthattrialand in any subsequentappeal;
       d. The rightto rem ain silentattrial;
       e. The rightto testify attrial;
       f. The rightto congontand cross-exam ine witnessescalled by the governm ent;
       g. The rightto presentevidence and w itnesses in m y own behalf;
       h. The rightto compulsory processofthecourt;
       i. The rightto com pelthe attendance ofw itnessesattrial;
       j. Therighttobepresumed innocent;
       k. The rightto a unanim ousguilty verdict;and
       1. The rightto appeala guilty verdict.




                              Defendant'sInitials:
                                       Page2 of 14

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 à.SENTENCING PROVISIONS
    1. G eneralM atters

        I understand the determ ination of w hat sentence should be im posed,w ithin the
 confinesofany applicable statutory m inim um sand m axim um s,isin the sole discretion of
 the Court subject to its consideration of the United States Sentencing Guidelines
 (''guidelines''or''U.S.S.G'')andthefactorssetforth at18U.S.C.j3553($.lunderstand
 Iw illhave an opportunity to review a copy ofm y presentence reportin advance ofm y
 sentencinghearingand may fileobjections,asappropriate.lwillhavean opportunity at
 m y sentencing hearing to presentevidence,bring w itnesses,cross-exam ine apy w itnesses
 the governm entcallsto testify,and arguetothe Courtwhatan appropriate sentenceshould
 be w ithin the confines oftheterm s ofthisagreem ent.
                        5.                                 .

         I understand I w illnot be eligible for parole during any term of im prisonm ent
 im posed. I understand the Court is not bound by any recom m endation or stipulation
 contained in this agreem ent and m ay sentence m e up to the statutory m axim um . I
 understand Iw illnotbe allowed to w ithdraw m y plea ofguilty ifthe Courtdisregardsthe
 stipulationsand/orrecom m endationssetforth in theplea agreem ent.

        Iundeptand ifthe sentence is m ore severe than I expected,1willhave no rightto
 w ithdraw m y plea. 1have discussed sentencing issuesw ith m y attom ey and realize there
 isa substantiallikelihood Iwillbe incarcerated.

    2. Sentencine G uidelines

       lstipulate and agree thata11m atterspertaining to any ofthe counts ofthe charging
 documentts),including any dismissed counts,are relevant conduct for purposes of
 sentencing.

      The jarties agree the 2018 edition ofthe United States Sentencing Guidelines
 Manualappllestoanyguidelinescalculationmadepertainingtomyoffensets).Istipulate
 thatthefollowing guldelinesectionts)areapplicabletomy conduct:
                        A t least 1.5 kilogram . but less than 5 kilogram s of
                      methamphetamine (mixture)oratleast150 gramsbutlessthan
   2D1.1(a)(5)     32 5
                      .00gramsofmethamphetamine(actual)



                              Defendant'sInitials:
                                       Page 3 of 14

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        Iunderstand guideline sectionsm ay be applicable to m y case and the United States
 and 1w illbe free to arguewhetherthese sectionsshould orshould notapply;to the extent
 the argum ents are notinconsistentw ith the stipulations,recom m endations and term s set
 forth in thisplea agreem ent.

       1agreetoacceptresponsibilityformyconduct.IfIcomplywithmyobligations
 underthispleaagreem entaild acceptresponslbility formy condud,theUnited Stateswill
 recom m end the Court grant m e a two-levelreduction in m y offense level,pursuantto
 U.S.S.G.j 3E1.1(a)and,ifapplicable,atsentenchg,willmovethatIreceiveaone-level
 reduction in my offense level,pursuantto U.S.S.G.j 3E1.1(b),forpurposes of any
 guidelines calculation. However,Istipulate thatifIfailto acceptresponsibility formy
 conductorfailto comply w ith any provision ofthisplea agreem ent,I should notreceive
 credit for acceptance of responsibility. In addition,I understand and agree the U nited
 States will have a continuing objection to me receiving credit for acceptance of
 resjonsibilityuntilIhavetestitiedtruthfully atmy sentencinghearing,ifcalleduponto
 testlfy. I agree the United States w illnot be required to m ake any other notice of its
 objectiononthisbasis.                                            '
    3. SubstantialA ssistance

       Iunderstand the United Statesretains a11ofits rightspursuantto Fed.R .Crim .P.
 35(b),U.S.S.G.j5K1.1and 18 U.S.C.j 3553($. Iunderstand even if1fully cooperate
 w ith 1aw enforcem ent,the United States is under no obligation to m ake a m otion forthe
 reduction ofm y sentence.1understand iftheU nited Statesm akesa m otion forareduction
 in m y sentence,the Court,after hearing the evidence,w ill determ ine how m uch of a
 departure,ifany,lshquld be given.

    4. M onptary O bliaations

       a. SpecialA ssessm ents.Finesand R estitution

       I understand persons convicted of crim es are required to pay a m andatory
 assessmentof$100.00 perfelony countofconviction. Iagree lwillsubmitto the U.S.
 Clerk's Office,a certified check,m oney order,orattorney'strustcheck,m ade payable to
 theGsclerk,U .S.DistrictCourt''forthetotalamountduefùrm andatory assessm entsprior
 to entering m y plea ofguilty.




                              Defendant'
                                       sInitials:(.
                                       Page4 of 14

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         Iagreeto pay restitm ion forthe entire scope ofm y crim inalconduct,including,but
 not lim ited to,a11m atters included as relevantconduct. ln addition,I agree to pay any
 restitution required by law ,including,butnotlim ited to,am ountsdue pursuantto 18U SC
 jj 2259,3663,and/or3663A. lunderstand and agree arequ
                                                     'irementIpay restitution for
 a11oftheabove-statèdmatterswillbeimposeduponmeaspartofanyfmaljudgmentin
 thism atter.

         I further agree to m ake good faith efforts tow ard paym ent of al1 m andatoty
 assessm ents,restim tion and fm es,w ith w hatever m eans 1 have atm y disposal. I agree
 failure to do so w illconstim te a violation ofthisagreem ent. Iw illexecute any docum ents
 necessary to release the funds Ihave in any repository,bank,investm ent,other fnancial
 instim tion, or any other location in order to m ake partial or totalpaym ent tow ard the
 m andatory assessm ents,restim tion and snesimposed in m y case.

        Ifully understand restitution and forfeim re are separate tinancialobligationsw hich
 m ay beimposed upon a crim inaldefendant. Ifurtherunderstand there isa processw ithin
 the D epartm ent of Justice w hereby, in certain circum stances, forfeited funds m ay be
 applied to restim tion obligations. Iunderstand no one has m ade any prom isesto m e that
 such aprocessw illresultin adecreasein m y restitution obligations in thiscase.

       Iunderstand and agree,pursuantto 18 U.S.C.jj 3613 and 3664(119,whatever
 monetary penaltiesare imposed by the Courtwillbe due immediately and subjectto
 immediateenforcementàytheUnitedStatesasprovidedforbystamte.Iunderstandifthe
 Court im poses a schedule of paym ents, that schedule is only a m inim um schedule of
 paym entsand notthe only m ethod,nora lim itation on them ethods,available totheU nited
 Statestoenforcethejudgment.
        Iagreeto granttheUnited Statesawageassignment,liquidateassets,orcomplete
 any othertasksw hich willresultin im m ediate paym entin full,orpaym entin the shortest
 timeinwhichf'ullpaymentcanbereasonablymadeasrequiredunder18U.S.C.j3572(*.
        1expressly authorize the United StatesAttom ey'sO ftk eto obtain a creditreporton
 m ein orderto evaluatem y ability to satisfy any fm ancialobligation imposed by the Court.

       I agree the follow ing provisions,orw ords ofsim ilar effect,should be inçluded as
 conditionsofprobation and/orsupervised release:(1)ts-l-he defendantshallnotify the
 FinancialLitigation U nit,U nited States A ttorney's Offk esin w riting,of any interest in
 property obtained,directly or indirectly,including any intekestobtained under any other



                               Defendant'sInitlals:
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 nam e,or entity,including a trust,partnership or cpp oration after the execution of this
 agreementuntila11snes,restitution,moneyjudgmentsandmonetaryassessmentsarepaid
 in 111''and (2)çt-fheDefendantshallnotifytheFinancialLitigationUnit,United States
 Attorney'sOffk e,in w riting,atleast30 dayspriorto transfening any interestin property
 owned dpectly orin/irectlybyDefendant,including any interestheldorownedunderany
 other nam e or entity, including trusts,partnership and/or com orations until a11 fines,
 restitmion,moneyjudgmentsandmonetaryassessmentsarepaidin111.5'
       The parties willalso jointly recommend that as a condition of probation or
 supervised release, Defendant will notify the Financial Litigation U nit, United States
 Attorney's Office,before Defendanttransfers any interest in property ow ned directly or
 indirectly by D efendant,including any interestheld or ow ned under any other nam e or
 entity,includingtrusts,partnersllipand/orcoporations.See18U.S.C.j3664(14,(n).

       RegardlessofwhetherornottheCourtsyecificallydirectsparticipationorimposes
 a schedule 'of paym ents,I agree to fully partlcipate in inm ate em ploym ent under any
 available orrecom m ended program soperated by the Bureau ofPrisons.

       Iagreeanypaymentsmadebymeshallbeaypliedftlllytothenon-jointandseveral
 portion of.m y outstanding restim tion balance untllthe non-loint and severalportion of
 restitution ispaid in 1 11,tmlessthe Courtdeterm inesthatto do so w ould cause a hardship
 toavictim oftheoffensets).
       b. Dutv to M akeFinancialDisclosures

        Iunderstand in thiscasethere isapossibility substantialtinesand/orrestim tion m ay
 be im posed. In orderto assistthe United States as to any recom m endation and in any
 necessary collection ofthose sum s,lagree,ifrequested by the United States,to provide a
 com plete and truthfulfinancialstatem entto the United StatesA ttorney'sOffk e,w ithin 30
 daysoftherequestor3dayspriortosentencing,whicheverisearlier,detailinga11income,
 expendimres,assets,liabllities,giftsand conveyancesby mlself,my spouseand my
 dependentchildren and any corporation,pm nershlp orotherentlty in w hich Ihold orhave
 held an interest,forthe period starting on January 1stofthe year prior to the year m y
 offense began and continuing through the date ofthe statem ent. This financialstatem ent
 shallbe subm itted in a form acceptableto the United StatesA ttorney's oftice.

        From the tim e of the signing of this agreem ent or the date I sign the fm ancial
 statem ent,whichever is earlier,I agree not to convey anything of value to any person



                              Defendant'
                                       sInitials:C
                                       Page6 of 14

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 withouttheauthorization oftheUnited SjatesAttorney'sOffice.
        c. U nderstandine ofCollection M atters

        Iunderstand:

        1. aspartofthejudgmentinthiscaselwillbeorderedtopayoneormoremonetary
           obligations;
        2. paym entshould bem ade asordered by the Court;
        3. 1m ustm ailpaym ents,by cashier'scheck orm oney order,payableto the ''Clerk,
           U .S.D istrictCourt''to:210 Franldin Road,S.W .,Suite 540,Roanoke, V irginia.
           24011;and include m y nam e and courtnum beron the check orm oney order;
        4. interest(unlesswaived by theCourt)and penaltiesmustbe imposed forlateor
           m issed paym ents;
        5. theUllitedStatesm ayfilelienson myrealandpersonalpropeo thatwillrem ain
           inplaceuntilmonetar/obligationsarepaidin111,oruntilliensexpire(thelater
           of20yearsfrom dateofsentencing orreleasefrom incarceration);
        6. ifIretain counselto representm e regarding the United Statçs'effortsto collect
           any of my m onetary obligations,I w ill im m ediately notify the U nited States
           Attom ey'sO ffk e,ATTN : FinancialLitigation U nit,P.O .Box 1709,Roanoke,
           V irginia 24008-1709,.1 writing,ofthe factofm y legalrepresentation;and
        7.1,ormy attorney if an attorney willrepresentme regarding collection of
          monetyy obligatlons,can contact the U.S.Attorney's Office's Financial
           Litigatlon U nitat540/857-2259.

 C .ADD ITIO NA L M ATTER S

    1. W aiver ofR iehtto A ppeal

       Knowing thatI have a rightof directappealofmy sentence under 18 U.S.C.j
 37424a)and thegroundslisted therein,Iexpressly waive therightto appealmy sentence
 on those grounds or on any ground. In addition,1hereby w aive m y rightof appealasto
 any and a11 other issues in this m atter and agree lw illnot lile a notice of appeal. I am
 know ingly and voluntarily w aiving any rightto appeal. By signing this agreem ent,Iam
 explicitly and irrevocably directing m y attom ey not to file a notice of appeal.
 N otwithstanding any otherlanguageto thecontrary,Iam notwaiving my rightto appeal
 ortohavemy attorneyfleanoticeofappeal,astoany issuewkich cannotbewaives by
 law. 1understand the United Statesexpressly reservesa11ofitsrightsto appeal. I agree


                                De
                                 fendant'sInitials:S
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 and understand ifInleany courtdocument(exceptforan appealbased on an issue
 thatcannotbew aived,by law ,ora collateralattack based on ineffectiveassistanceof
 counsel)seeking to disturb,in any w ay,any order im posed in my case such action
 shallconstitute a failure to com ply w ith a provision ofthisagreem ent.

    2. W aiver ofR ightto Collaterally A ttack

       I w aive any rightl m ay have to collaterally attack,in any future proceeding,any
 orderissued in thism atter,unlesssuch attack isbased on ineffective assistance ofcounsel,
 and agreeIwillnottile any documentwhich seeksto disturb any such oréer,unlesssuch
 filing isbased on ineffective assistance ofcounsel. I agree and understand thatifIfile
 any courtdocument(exceptfor an appealbased on an issuenototherwisewaived in
 this agreem ent; an appeal based on an issue that cannot be w aived,by Iaw ; or a
 collateralattack based on ineffectiveassistanceofcounsel)seeking todisturb,in any
 way,any order im posed in my case,such action shallconstitutea failureio comply
 w ith a provision ofthisagreem ent.

    3. Inform ation A ccess W aiver

       Iknowinjlyandvoluntarilyagreetowaivea11rights,whetherasserteddirectlyor
 by a representatlvea to request or receive from any departm entor agency ofthe United
 States any records pertaining to the investigation or prosecution of this case,including
 w ithoutlim itation any recordsthatm ay be soughtunderthe Freedom ofInfondation A ct,
 5 U.S.C.5552,orthePrivacyActof1974,5U.S.C.j552a.
    4. W aiver ofW itnessFeq

       lagree to w aive a11rights,claim s orinterestin any w itness feelm ay be eligible to
 receive pursuantto 28 U .S.C.j 1821,for my appearance atany Grand Jury,witness
 conference orcoul'tproceeding.

    5. A bandonm entofSeized ltem s

        By signing thisplea agreem entylhereby abandon m y interestin,and consentto the
 officialuse,destnzction orotherdisposition ofeach item obtained by any 1aw enforcem ent
 agency during the course ofthe investigation,unlesssuch item is specifically provided for
 in another provision ofthis plea agreem ent. I further w aive any and a11notice of any
 proceeding to implem enttheofficialuse,destruction,abandonm ent,orotherdisposition of



                              Dqfendant'
                                       sInitials:1
                                       Page 8 of 14

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 such item s.

    6. D eportation

       IunderstandifIam notacitizenoftheUnitedStates,Imaybesubjecttodeportation
 from the United States,denied United States citizenship,and denied adm ission to the
 UnitedStatesin thefumre,asaresultofmy conviction fortheoffensets)toWhich1am
 pleading guilty.

    7. D enialofFederalBenents

       A tthe discretion ofthe court,Iunderstand Im ay also be denied any ora1lfederal
 benetks,asthatterm isdefinedin21U.S.C.j861,(a)foruptofiveyearsifthisismysrst
 conviction of a federal or state offense consisting of the distribution of controlled
 substances,or Jlp to one year ifthis is my first conviction of a federalor state offense
 involvingthepossessionèfacontrolledsubstance;or(b)foruptotenyearsifthisismy
 second conviction ofa federalor state offense consisting ofthe distribution ofcontrolled
 substances,orup to five yearsifthisism y second orm ore conviction ofafederalorstate
 offense involving the possession of a controlled substance. Ifthis is m y third or m ore
 conviction ofa federalorstate offense consistinj ofthe distribution ofcoùtrolled
 substances,Iunderstand Icould bepermanently inellgible fora1lfederalbenefits,asthat
 term isdesnedin21U.S.C.j862(d).
    8. A dm issibiliW ofStatem ents
                -




       Iunderstand if1failto plead guilty in accordancew ith this agreem entorw ithdraw
 my pleats) ofguilty any statements I make (including thisplea agreement,and my
 admissionofguilt)duringorinpreparationforanyguiltypleahearing,sentencinghearing,
 or other hearing and any statem ents I m ake or have m ade to 1aw enforcem ent agents,in
 an# setting (including during a proffer),'may beused againstme in thisor any other
 proceeding. lknow ingly w aive any rightIm ay have underthe Constim tion,any stattlte,
 rule or other source of 1aw to have such statem ents, or evidence derived 9om such
 statem ents,suppressed or excluded from being adm itted into evidence and stipulate that
 such statem ents can be adm itted into evidence.

    9. A dditionalO blieations

       Iagree to cooperate fully w ith 1aw enforcem entagentsand w illdisclose to them ,at



                              Defendant'sInitials.
                                      Page 9 of 14

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 anytimerequestedbythem,myknowledgeofany criminalactivity.Iagreelwilltestify
 truthfully. 1hereby w aiveany rlghtIm ay have to refuseto answ erany questions. lagree
 to be debriefed by 1aw enforcem ent agents concem ing any m atter. I understand it is a
 felony offenseto m ake false statem entsto 1aw enforcem entagentsorto testify falsely.

       Iagreenotto com m itany ofthe follow ing acts:

           * attem ptto w ithdraw my guilty plea;
           * deny lcom m itted any crim eto w hich 1have pled guilty;
           * makeoradoptany argumentsorobjectionstothepresentencereportthatare
               inconsistentw ith thisplea agreem ent;
           * obstructjustice;
           *   failto com ply w ith any provision ofthisplea agreem ent;
           *   com m itany othercrim e;
           *   m ake a false statem ent;
           @   failto enterm y plea ofguilty when scheduled to do so,unleqsa continuance
               isagreed to by theUnited StatesAttom ey'sOffk e and granted by the Court;
           * failto testify tnzthfully,as to any matter,if called upon to do,so (atmy
             sentencinghearingorany otherproceeding);
           * refuseto answ erany question;
           * failto comply w ith any reasonable requestofthe U nited States A ttom ey's
             Oftk e;or
           @ failto cooperate with 1aw enforcem entagents.

 D .REM EDIES A VA ILM LE TO TH E UN ITED STATES

        1 hereby stipulate and agree thatthe United States Attorney's ofik e m ay,at its
 election,pursue any ora11ofthe follow ing rem edies ifIfailto comply w ith any provision
 ofthisagreement:(a)declarethispleaagreementvoid;(b)refusetodismissanycharges;
 (c)reinstate any dismissed charges;(d)file new charges;(e)withdraw any substantial
 assistancem otion made,regardlessofwéethersubstantialassistancehasbeen performed;
 (9 refusetoabideby anyprovision,stipulations,and/orrecommendationscontained inthis
 pleaagreement;or(g)takeany otheractionprovidedforunderthisagreementorbystatute,
 regulation orcourtrule.

        In addition,Iagree if,forany reason,m y conviction issetaside,orIfailto com ply
 with any obligation undertheplea agreem ent,theUnited Statesm ay file,by indictm entor
 inform ation, any charges against m e w hich were tiled and/or could have been filed


                              Defendant'sInitials:
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 concerning them attershw olved in theinstantinvestigation.lhereby w aivem y rightunder
 FederalRule ofCrim inalProcedure 7 to be proceeded againstby indictm entand consent
 tq the filing ofan inform atibn againstm e concerning any such charges.Ialso hereby w qive
 any statute oflim itationsdefenseasto any such charges.

       The rem edies set forth ébove are cum ulative and not m um ally exclusive. The
 United States'election ofany ofthese rem edies,otherthan declaring thisplea agreem ent
 void,doesnot,in any w ay,term inate m y obligation to com ply with the term softhe plea
 agreem ent. Theuse ofGûif''in thissection doesnotm ean tEif,and only if.''

 E.GENERAL PRON SIONS
    1. Lim itation ofA qreem ent

         This agreem ent only binds the United States Attorney's Office for the W estern
 D istrict of V irginia. It does notbind any state or localprosecutor,other United States
 Attom ey's Office or other office or agency ofthe U nited States G overnm ent,including,
 butnot lim ited to,the Tax Division of the United States Departm ent of Justice,or the
 Intem al Revenue Service of the U nited States D epartm ent of the Treasury. These
 individualsand agenciesremain freetoprosecutemeforany offensets)committedwithin
 theirrespectivejurisdictions.
    2. EffectofM v Siznature

        lunderstand m y signature on this agreem entconjtitutes a binding offerby m e to
 enterinto thisagreem ent. Iunderstand theU nited Stateshasnotaccepted m y offerlmtilit
 signsthe agreem ent.

    3. Effective R epresentation

         Ihave discussed theterm softheforegoingpleaagreem ent>nd a11m atterspertaining
 to the chargesagainstm ew ith m y attorney and am fully sitistsed w ith m y attorney and m y
 attorney's advice. A tthistim e,Ihave no dissatisfaction orcom plaintw ith m y attorney's
 representation. Iagree to m ake know n to the Courtno laterthan atthe tim e ofsentencing
                                                               y   'N .
 any dissatisfaction orcom plaintIm ay havew ith m y attorney srepresentation.

    4. M isconduct




                               Dqfendant'sInitials:
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*




           IfI have any inform ation concem ing any cqnductofany governm entattorney,
     agent,em ployee,orcontractorw hich could be constm ed asm isconductoran ethical,civil,
     orcrim inalviolation,lagree to m ake such conductknow n to the United StatesAttorney's
     Oftk e and the Court,.111writing,as soon as possible,but no later than m y sentencing
     hearing.

        5. FinalM atters

            Iunderstand athorough presentence investigation w illbe conducted and sentencing
     recom m endations indçpendentofthe U nited StatesAttorney'sO ftk e w illbem ade by the
     presentence preparer,w hich the Courtm ay adoptortake into consideration.'Iunderstand
     any calculation regarding the guidelinesby the United StatesA ttorney's Office orby m y
     attorney isspeculative and isnotbinding upontheCourt,theProbation O flk eortheU nited
     StatesA ttorney's O ffice. N o guarantee hasbeen m ade by anyone regarding the effectof
     the guidelines on m y case.

            Iunderstand the prosecution w illbe free to allocute or describe the nature oflhis
     offense and the evidence illthis case and m ake any recom m endations notprohibited by
     thisagreem ent.

             I understand the United States retains the right,notwithstanding any provision in
     this plea agreem ent,to inform the Probation O ffk e and the Courtof a11relevantfacts,to
     addresstheCourtwithrespecttothenatureandseriousnessoftheoffensets),torespond
     to any questions raised by the Court,to correct any inaccuracies or inadequacies in the
     presentence reportand to respond to any statem ents m ade to the Courtby oron behalfof
     the defendant.

           I willingly stipulate there is a sufficient facm al basis to supporteach and every
     matedal factual allegation contained within the charging documentts) to which I am
     pleading guilty.

            1understand thisagreem entdoesnotapply to anyrcrim esor chargesnotaddressed
     in thisagreem ent. lunderstand ifIshould testify falsely in thisorin a related proceeding
     Imay beprosecuted forperjury and statementsImay havegiven authoritiespursuantto
     thisagreem entm ay be used againstm e in such aproceeding.

            Iunderstand m y attorney w illbe 9ee to argue any m itigating factorson m y behalf;
     to theextentthey arenotinconsistentw ith theterm softhis agreem ent. Iunderstand Iwill



                                  Defendant'sInitials:
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*'




      have an opportunity to personally addressthe Courtpriorto sentence being imposed.

             Thiswriting setsforth theentireundersianding between thepartiesand constimtes
      the com plete plea agreem entbetw een the United StatesA ttorney forthe W estern District
      of Virginia and m e,and no otheradditionaltenns or agreem ents shallbe entered except
      and unless those otherterm s orar eem ents are in m iting and signed by the parties.This
      plea agreem entsupersedes a11prior understandings,prom ises,agreem ents,or conditions,
      ifany,between the U nited Statesand m e.

             Ihave consulted w ith m y attorney and f'ully understand a11m y rights. I have read
      thisplea agreem entand carefully review ed every partofitw ith m y attorney.Iunderstand
      this agreem ent and I voluntarily agree to it. l have not been coerced,tllreatened, or
      prom ised anything other than the term s of this plea agreem ent, described above, in
      exchange form y plea of guilty. Being aw are of a11ofthe possible consequences of my
      pleh,Ihave independently decided to enterthisplea ofm y own freew ill,and am affinning
      thatagreem enton this date and by my signàturebelow .

      Date: /50/ )$                            C asey      ey,D efe     nt

             lhavefullyexplaineda11rightsavailabletomyclientwithrespecttotheoffenses
      listedin thependlngcharging documentts). Ihavecarefullyreviewedeverypartofthis
      plea agreem entw ith m y client. To m y know ledge,m y client's decision to enterinto this
                              .

      agreem entisan informed and voluntary one.

             IfIw illcontinuetorepresentm y clientregarding theUnited States'effortsto collect
      any monetay obligations,Iwillnotify the United StatesAttorney's Office,ATTN:
      FinancialLitlgation Unit,P.O .Box 1709,R oanoke,V irginia 24008-1709,in w riting,of
      the factofmy continued legalrepresentation within 10 daysofthe entry ofjudgmentin
      thiscase.


      Ilate: / .$g-à )y
                                               Fred H eblich,Esq.
                                               CounselforD efendant




                                   Defendant'sInitials:
                                           Page 13 of 14

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                           Defendant'sInitials:
                                  Page 14 of 14

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